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UNlTED STATES DISTRICT COURT
lVllDDLE DlSTRlCT OF FLORIDA

JACKSONVILLE DlVlSlON
GRETHE CARMICHAEL.

Plaintiff,

CASE NO.:
_VS_

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CONN'S APPLlANCES. lNC. d/b/a CONN'S
HOME PLUS.

Defendant.

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J.

COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW Plaintiff. Grethe Carmichae|` by and through the undersigned

counsel, and sues Defcndant, CONN'S APPLIANCES, lNC. d/b/a CONN'S HOME
PLUS ("CONN`S"), and in support thereof respectfully alleges violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. ("TCPA") and the Florida

Consumer Collection Practiccs Act, Fla. Stal. § 559.55 et seq. ("FCCPA").

lNTRODUCTlON
l.

The TCPA was enacted to prevent companies like CONN’S from invading
American citizen’s privacy and prevent abusive "robo-calls."

2. "Thc TCPA is dcsigncd to protect individual consumers from receiving

intrusive and unwanted telephone calls." Mims v. Arr()w Fin. Servs., LLC, -US--, 132
S.Ct., 74(), 745, 181, L.Ed. 2d 881 (2012).

3. "Senator Hol|ings, the TCPA`s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

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at night; they force the sick and elderly out of bed; they hound us until We want to rip the
telephone out ot` the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the auto-dialers to simply
stop calling.” Os()rio v. State Farm Bank, F.S.B., 746 F. 3d 1242 1256(11lh Cir. 2014).

4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robo-calls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet.' Wheeler P)'oposal
to Protect and Empower Consumers Against Unwanted Robo-calls, Texts to Wireless
Phones, Federal Communications Commission, (May 27, 2015),
http://transition.fcc.gov/Daily_Releases/Daily_Busmess/2015/db0527/DOC-
333676A1.pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding chenty-Five Thousand Dollars
($75,00().00) exclusive of attorney fees and costs.

6. Jurisdiction and venue For purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations ot` the TCPA.

7. Subject matter jurisdiction federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, Which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

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47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Sen)s., LLC` S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (1 1"` Cir. 2014)

8. The alleged violations described herein occurred in Duval County,
Florida. Accordingly, venue is appropriate With this Court under 28 U.S.C. §l39l(b)(2)
as it is the judicial district in which a substantial part ot` the events or omissions giving
rise to this action occurred

FACTUAL ALLEGATlONS

9. Plaintil`fis a natural person, and citizen ofthe State ofFlorida. residing in
Duval County, Florida

10. Plaintiffis a "consumer" as defined in Florida Statute § 559.55(8).

l l. Plaintiff is an “alleged debtor."

l2. Plaintiff is the "callcd party.” See Breslow v. Wel[s Fargo Bank, N.A.. 755
F. 3d 1265 (i r“ Cir. 2014) and 030,-,'0 v. stare Fa,-m Bank, F.S.B., 746 F.3d 1242 (i l"‘
Cir. 2014).

13. Defendant is a corporation which was formed in Texas with its principal
place of business located at 4055 Technology Forest Blvd. Ste. 210, The Wood|ands.
Texas 77381 and which conducts business in the State of Florida.

14. The debt that is the subject matter of this Complaint is a "consurner debt"
as defined by Florida Statute §559.55(6).

15. Defendant is a "crcditor" as defined in Florida Statutc §559.55(5)

16. Defendant called Plaintit`t` on Plaintit`Fs cellular telephone approximately

250 times in an attempt to collect a debt.

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17. Defendant attempted to collect an alleged debt from Plaintiff by this
campaign of telephone calls.

18. Upon information and belicf, some or all of the calls the Defendant made
to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing
system" which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voicc; and to dial such numbers as specified by 47 U.S.C §
227(a)(l) (hereinafter "auto-dialer calls"). Plaintiff will testify that she knew it was an
auto-dialer because of the vast number of calls she received and because she heard a
pause when she answered her phone before a voice came on the line and/or she received
prerecorded messages from Defendant.

19. Plaintiff is the subscribcr, regular user and carrier of the cellular telephone
number (609) ***~1471, and was the called party and recipient of Defendant`s calls.

20. Defendant placed an exorbitant number of automated calls and/or texts to
Plaintiff’s cellular telephone (609) ***-1471 in an attempt to collect on a consumer loan.

21. On several occasions over the last four (4) years Plaintiff instructed
Defendant’s agent(s) to stop calling her cellular telephone.

22. On or about Novcmber 2016, Defendant repeatedly placed automated calls
to Plaintiff’s cellular telephone

23. Plaintiff took out a consumer loan to obtain furniture from Defendant.

24. Plaintiff expressly told Defendant to stop calling her on or about .luly

2017. During said conversation, Plaintiffindicated` “Please stop calling me."

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25. Despite Plaintiff clearly revoking any consent. which Defendant may have
believed it had to place automated calls to Plaintist cellular telephone, Defendant
continued to place calls to Plaintist cellular telephone

26. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s
cellular telephone in this case.

27. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiff"s cellular telephone in
this case, with no way for the consumer, Plaintiff, or Defendant. to remove the number.

28. Defendant corporate policy is structured so as to continue to call
individuals like Plaintiff; despite these individuals explaining to Defendant they wish for
the calls to stop.

29. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

30. Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to ca11 despite requested to stop.

31. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers

32. Defendant corporate policy provided no means for Plaintiff to have her

number removed from Defendant’s call list.

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33. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

34. Not a single call placed by Defendant to Plaintiff were placed for
"emergency purposes" as specified in 47 U.S.C. § 227(b)(l)(A).

35. Defendant Willfully and/or knowingly violated the TCPA with respect to
Plaintiff.

36. From each and every call placed without consent by Defendant to
Plaintiff`s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the
intrusion upon her right of seclusion.

37. From each and every call without express consent placed by Defendant
toPlaintiff’s cell phone, Plaintiff suffered the injury of occupation of her cellular
telephoneline and cellular phone by unwelcome calls. making the phone unavailable for
legitimatecallers or outgoing calls while the phone was ringing from Defendant calls.

38. From each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of
her time. For calls she answered, the time she spent on the call was unnecessary as she
repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste
time to unlock the phone and deal with missed call notifications and call logs that
reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff`s cellular tclcphone. which arc designed to inform the user of important missed

communications

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39, Each and every call placed without express consent by Defendant to
Plaintiff"s cell phone was an injury in the form ofa nuisance and annoyance to Plaintiff.
For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering
them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff’s cellular telephone, which are
designed to inform the user of important missed communications

40. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiffs cell
phonc`s battery power.

41. Each and every call placed without express consent by Defendant to
Plaintiff`s cell phone where a voice message was left which occupied space in Plaintiff’s
phone or network.

42. Each and every call placed without express consent by Defendant to
Plaintist cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,
namely her cellular telephone and her cellular phone services.

43. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,
nervousness, embarrassment, distress and aggravation

M
(Violation of the TCPA)

44. Plaintiff fully incorporates and re-alleges paragraphs l through 43 as if

fully set forth herein.

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45. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff
notified Defendant that she wished for the calls to stop.

46. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff`s prior express consent in violation of federal law` including 47
U.S.C § 227(b)(l)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against CONN'S APPLIANCES, INC. d/b/a CONN'S HOME
PLUS. for statutory damages. punitive damages, actual damages, treble damages
enjoinder from further violations of these parts and any other such relief the court may

deem just and proper.

M
(Violation of the FCCPA)

47. Plaintiff fully incorporates and re~a|leges paragraphs l through 43 as if
fully set forth herein

48. At all times relevant to this action Defendant is subject to and must abide
by the laws ofthe State of Florida. including Florida Statute § 559.72.

49. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency

as can reasonably be expected to harass thc debtor or his or her family.

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50. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

51. Defendant actions have directly and proximately resulted in Plaintiff's
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against CONN'S APPLlANCES. lNC. d/b/a CONN'S HOME
PLUS. for statutory damages punitive damages. actual damages. costs, interest, attorney
fees. enjoinder from further violations of these parts and any other such relief the court
may deem just and proper.

Respectfully submitted

/s/ Octavio Gomez

 

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